EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,


                Defendant.


        GOVERNMENT’S MOTION TO REVOKE OR REVISE DEFENDANT
      PAUL J. MANAFORT, JR.’S CURRENT ORDER OF PRETRIAL RELEASE

       Pursuant to 18 U.S.C. § 3148, the United States of America, by and through Special

Counsel Robert S. Mueller, III, hereby moves the Court to revoke or revise the current Order

authorizing the release of defendant Paul J. Manafort, Jr. (Manafort) to the Pretrial Services

Agency’s high-intensity supervision program. The evidence set forth below and in the attached

declaration of Federal Bureau of Investigation (FBI) Special Agent Brock W. Domin establishes

probable cause to believe that Manafort has violated 18 U.S.C. § 1512(b)(1) by attempting to

tamper with potential witnesses while on pretrial release and, accordingly, has violated the

conditions of his release. That violation triggers a statutory presumption that no conditions or

combination of release conditions will assure the safety of the community and of others. See 18

U.S.C. § 3148(a)-(c). The government therefore requests that the Court promptly schedule the

hearing called for by the statute to determine Manafort’s release status. See id. § 3148(b). 1


       1
          By minute order entered on May 31, 2018, the Court granted the government leave to file
a supplemental response to Manafort’s motion to reconsider the conditions of his release
(Doc. 291). The government submits this motion as its supplemental response to avoid any
question about the Court’s authority to revoke the release Order under Section 3148. Cf. United
States v. Koumbairia, No. 07-cr-61, 2007 WL 1307909, at *2 (D.D.C. May 3, 2007) (noting that
the “question of whether a revocation proceeding could be initiated without . . . a written
government motion remained unresolved”).
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   A. Factual Background

       1. Manafort Was Released To Home Confinement Subject To The Standard Condition
          That He Not Commit Any Federal, State, Or Local Crime

       On October 27, 2017, Manafort was first indicted by a grand jury in this District on nine

counts, including conspiracy to defraud and commit offenses against the United States, conspiracy

to launder money, failure to file reports of foreign bank accounts, making false and misleading

statements, and acting as an unregistered agent of a foreign principal. The charges included

allegations that Manafort lied to a wide array of people to carry out the charged crimes. Doc. 13.

On October 30, 2017, Manafort was permitted to surrender to the government after providing his

passport to the FBI. Following his arraignment, Manafort was, upon the parties’ consent, ordered

released to the Pretrial Service Agency’s high-intensity supervision program and subject to the

condition of home confinement and a $10 million bond. See Doc. 9; 10/30/2017 Tr. 19. The order

releasing Manafort to home confinement, which Manafort signed, informed him that he was “not

to commit any criminal offense nor violate any condition of this release order – a rearrest for any

offense based upon probable cause may be grounds for revoking your release.” Doc. 9 at 2.

       Since Manafort was released into the high-intensity supervision program, his conditions of

release have been the subject of repeated motions concerning the security necessary to release him

from home detention. See, e.g., Doc. 32, 66, 153, 182, and 229. None of those motions has altered

the basic requirement that Manafort not commit a federal, state, or local crime during the period

of his release. Cf. 18 U.S.C. § 3142(b) (providing that, even when a defendant is released “on

personal recognizance,” release is “subject to the condition that the person not commit a Federal,

State, or local crime”).

       For instance, on November 4, 2017, Manafort moved this Court to modify his conditions

of release to permit, among other things, travel within the District of Columbia and the states of

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Florida, New York, and Virginia. Doc. 32. On November 6, the Court held a hearing on the

motion and found that release on Manafort’s personal recognizance with an unsecured appearance

bond would not reasonably assure his appearance. 11/6/2017 Tr. 24:25-25:5. On December 15,

2017, the Court further ordered that Manafort would, upon the satisfactory posting of a sufficient

bond and the fulfillment of various other conditions, be released from home confinement and

permitted to travel within a limited geographic area around his residence. See Doc. 95; see also

12/11/17 Tr. 15:14-16:9 (noting that the Court was prepared to modify the condition of home

confinement but “required financial information that would satisfy . . . the two applicable

conditions under the Bail Reform Act”). Manafort’s inability to satisfy the financial conditions

necessary to ensure his release have, to date, prevented him from securing the modification he

seeks.    Like the October 30 Order, the Court’s December 15 Order provided that Manafort’s

pretrial release must, in accordance with the Bail Reform Act, be “subject to the condition that

[he] not commit a Federal, State, or local crime.” Doc. 95 at 1 (quoting 18 U.S.C. § 3142(c)); see

also Doc. 95 at 2 (determining, as a necessary condition of release, that “Defendant must not

commit any federal, state, or local crime”).

         2. Manafort’s Attempts to Influence Potential Witnesses

         On February 23, 2018, the grand jury returned the operative Superseding Indictment of

Manafort. Doc. 202. As relevant here, the Superseding Indictment included new allegations

concerning a part of Manafort’s lobbying scheme that is alleged to have violated the Foreign

Agents Registration Act (FARA), 22 U.S.C. § 611 et seq. Informally referred to by Manafort and

his co-conspirators as the “Hapsburg” group, this part of the charged illegal United States lobbying

scheme involved the secret retention of a group of former senior European politicians who would

act as third-party paid lobbyists for Ukraine. Manafort was alleged to have funneled to the



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Hapsburg group more than 2 million euros from overseas accounts he controlled. See Superseding

Indictment ¶¶ 30–31.

       Two individuals who were principals of a public-relations company (Company D) acted as

intermediaries between Manafort, Person A, co-defendant Richard Gates, and the Hapsburg group.

Those two individuals are described herein as Persons D1 and D2. Manafort, with the assistance

of Person A and Gates, managed the work of Persons D1 and D2 on behalf of Ukraine (along with

the work of Companies A, B, and C, and others). 2

       Persons D1 and D2’s work for Manafort, which included their work directing the Hapsburg

group, was—from its inception—directed at both the United States and Europe. Manafort himself

wrote a June 25, 2011 memorandum to Person D1 describing the goals and deliverables of Persons

D1 and D2’s work for Ukraine. Manafort stated that a “goal of the program . . . is to educate

western media, expand the media awareness of what is really happening and establish mechanisms

to maintain a constant flow of information into Europe and the US,” including “Washington.”

Domin Decl. ¶ 6. Similarly, Manafort noted in a “conference call agenda” that one deliverable of

Persons D1 and D2’s work would be “Print/electronic media coverage in European [sic] and US,”

and that Ukraine’s contract with Persons D1 and D2’s company would “cover the EU and the US.”

Id.

       Pursuant to Persons D1 and D2’s scope of work—and in coordination with Manafort,

Person A, Persons D1 and D2, and others—the Hapsburg group directly lobbied and conducted

public-relations work in the United States. For example, in September 2012, Manafort and Gates,




       2
         The references to anonymized companies and individuals in this motion mirror those used
in the Superseding Indictment (e.g., Doc. 202 ¶¶ 24, 29, 31) and in other pleadings in this and
related cases. See, e.g., Gov’t Sent. Mem. at 2, United States v. van der Zwaan, No. 1:18-cr-31
(D.D.C. March 27, 2017) (Doc. 19).
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with the assistance of Persons D1 and D2, arranged for members of the Hapsburg group to contact

United States senators directly to lobby on behalf of Ukraine in connection with the Senate’s

potential condemnation of the imprisonment of Yulia Tymoshenko. Domin Decl. ¶ 9. In addition,

in early 2013, Manafort and Gates arranged for members of the Hapsburg group to meet with

members of Congress and their staffs. Manafort and Gates further directed Persons D1 and D2 to

draft an op-ed in the name of one of the members of the Hapsburg group, and arranged for its

placement in The Hill—a newspaper published in Washington, D.C—at or around the time that

the member of the Hapsburg group was in the United States. Id. ¶ 10. Persons D1 and D2 did the

same with respect to another op-ed by a member of the Hapsburg group placed in The New York

Times in January 2014. Id. ¶ 12.

       Following the public disclosure of the February 23 Superseding Indictment, Manafort and

Person A—who is a longtime associate of Manafort’s—repeatedly contacted Persons D1 and D2

in an effort to secure materially false testimony concerning the activities of the Hapsburg group.

Neither Person D1 nor D2 had had any recent contact with Manafort or Person A. But after the

Superseding Indictment was publicly disclosed, Manafort called Person D1 on Persons D1’s

cellular phone. Person D1 sought to avoid Manafort, so Person D1 ended the call. Domin Decl.

¶¶ 14, 20.

       The day after the Superseding Indictment was made public, Manafort also sent Person D1

a text message on an encrypted application, stating “This is paul.” Domin Decl. ¶ 14. 3 Two days

later, on February 26, 2018, Manafort used the same encrypted application to send Person D1 a

news article describing the Superseding Indictment’s allegations concerning the Hapsburg group,



       3
        Persons D1 and D2 both preserved the messages they received from Manafort and
Person A, which were sent on encrypted applications, and have provided them to the government.
Domin Decl. ¶ 12 n.1
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which included the statement that “two European politicians were secretly paid around €2 million

by Manafort in order to ‘take positions favorable to Ukraine, including by lobbying in the United

States.’” 4 One minute after sending the news article, Manafort wrote: “We should talk. I have

made clear that they worked in Europe.” Domin Decl. ¶ 15. Toll records for one of Manafort’s

phones indicate that Manafort had a short call with Person D1 on February 24, 2018, and that

Manafort attempted to call Person D1 again on February 25 and 27, 2018. Id. ¶ 14.

       As noted in Special Agent Domin’s declaration, Person D1 has told the government that

he understood Manafort’s outreach to be an effort to “suborn perjury,” because Person D1 knew

that the Hapsburg group worked in the United States—not just Europe. Domin Decl. ¶ 19.

       In an effort to connect Manafort with Person D1, Person A reached out to Person D2, a

longtime partner of Person D1. On February 28, five days after the Superseding Indictment,

Person A attempted to contact Person D2 via an encrypted messaging application. Person A wrote:

“My friend P is trying to reach [Person D1] to brief him on what’s going on.” Domin Decl. ¶ 17.

Two minutes later, Person A added: “Basically P wants to give him a quick summary that he says

to everybody (which is true) that our friends never lobbied in the US, and the purpose of the

program was EU.” Id. Approximately five hours later, Person A switched to another encrypted

application and sent a similar series of messages to Person D2, including a message relaying

Manafort’s “summary” that the Hapsburg group never lobbied in the United States. Id.

       The February 2018 messages were not Person A’s only efforts to put Manafort in contact

with Persons D1 and D2. In April 2018, Person A reached out to Person D1, relaying the message:




       4
         Michael Kranz, Former European leaders struggle to explain themselves after Mueller
claims Paul Manafort paid them to lobby for Ukraine, Business Insider (Feb. 25, 2018), available
at    http://www.businessinsider.com/former-european-leaders-manafort-hapsburg-group-2018-
2?r=UK&IR=T
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“My friend P is looking for ways to connect to you to pass you several messages. Can we arrange

that.” Domin Decl. ¶ 18. Person A contacted Person D2 via two encrypted applications the same

day, reiterating his need for help in connecting Person D1 with Manafort. Person A added in his

final text to Person D2: “I tried him [i.e., Person D1] on all numbers.” Id. 5

       Like Person D1, Person D2 understood that Manafort and Person A were reaching out to

him and Person D1 in an effort to influence the testimony of potential witnesses. Domin Decl.

¶ 19, 20. Person D2 explained that he and Person D1 had been responsible for interfacing with the

Hapsburg group, and acted as “intermediaries” between Manafort and Ukraine government

officials and the Hapsburg group. Id. ¶ 20. Person D2 further stated his opinion that Manafort and

Person A’s outreach to him and Person D1 was an effort to get them to relay a message to the

Hapsburg group: if the members of the Hapsburg group were contacted by anyone, they should

say that their lobbying and public relations work was exclusively in Europe—a representation that

would be contrary to Person D’s knowledge that the Hapsburg group worked in both Europe and

the United States. Id. ¶ 19, 20.

   B. Legal Standard

       “The Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., permits the revocation of release

and an order of detention for a person who has been released under 18 U.S.C. § 3142 and has

violated a condition of that release.” United States v. Addison, 984 F. Supp. 1, 2 (D.D.C. 1997).

As relevant here, an “attorney for the Government may initiate a proceeding for revocation of an

order of release by filing a motion with the district court.” 18 U.S.C. § 3148(b). Section 3148

further provides that the judicial officer hearing the motion:

       shall enter an order of revocation and detention if, after a hearing, the judicial


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          A chart summarizing the contacts and attempted contacts discussed in this motion is
attached to Special Agent Domin’s Declaration as Exhibit N.
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       officer—

       (1) finds that there is—

       (A) probable cause to believe that the person has committed a Federal, State, or
       local crime while on release; or

       (B) clear and convincing evidence that the person has violated any other condition
       of release; and

       (2) finds that--

       (A) based on the factors set forth in [18 U.S.C. § 3142(g)], there is no condition or
       combination of conditions of release that will assure that the person will not flee or
       pose a danger to the safety of any other person or the community; or

       (B) the person is unlikely to abide by any condition or combination of conditions
       of release.

Id. (emphasis added).

       The government’s motion here is based on Section 3148(b)(1)(A), which requires

“probable cause to believe” that Manafort has committed (as pertinent here) a federal “crime while

on release.” The probable-cause standard is not an onerous one. As the Second Circuit explained

in an analogous case, “[p]robable cause under § 3148(b)(1)(A) requires only a practical probability

that the evidence supports a finding that the defendant has committed a crime while on bail.”

United States v. LaFontaine, 210 F.3d 125, 133 (2d Cir. 2000) (internal quotation marks, citation,

and ellipses omitted); accord, e.g., United States v. Aron, 904 F.2d 221, 224 (5th Cir. 1990) (“[T]o

satisfy the probable cause requirement of § 3148(b)(1)(A), the facts available to the judicial officer

must warrant a man of reasonable caution in the belief that the defendant has committed a crime

while on bail.”) (internal quotation marks omitted).

       Notably, once a court finds probable cause to believe that the defendant committed a crime

while on release, “a rebuttable presumption arises that no condition or combination of conditions

will assure that the person will not pose a danger to the safety of any other person or the

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community.” 18 U.S.C. § 3148(b). If the defendant rebuts that presumption and a court finds

“that there are conditions of release that will assure that the person will not flee or pose a danger

to the safety of any other person or the community, and that the person will abide by such

conditions,” then the court “shall treat the person in accordance with the provisions of [18 U.S.C.

§ 3142] and may amend the conditions of release accordingly.” Id.; see United States v. McKethan,

602 F. Supp. 719, 722 (D.D.C. 1985) (explaining that, where the government seeks detention

“based upon a charge that a defendant has committed a felony while on release, § 3142 does not

come into play unless and until the judicial officer finds under § 3148(b)(2)(B) that the defendant

has overcome the statutory rebuttable presumption”). Nonetheless, the statutory “presumption

does not disappear once the defendant has produced some rebuttal evidence, but continues to be

weighed along with other factors.” LaFontaine, 210 F.3d at 130 (quotation marks omitted).

   C. The Defendant Has Violated The Release Condition That He Not Commit Any
      Federal Crime

       The facts set forth above and in Special Agent Domin’s Declaration establish probable

cause to believe that Manafort has violated his conditions of release by attempting to tamper with

witnesses, in violation of 18 U.S.C. § 1512(b)(1). A violation based on commission of a federal

crime triggers the statutory presumption in favor of detention.

       1. Section 1512(b)(1) proscribes “knowingly . . . corruptly persuad[ing]” or “attempt[ing]

to” corruptly persuade another person “with intent to . . . influence . . . the testimony of any person

in an official proceeding.” 18 U.S.C. § 1512(b)(1). 6 As relevant here, the statute’s plain language



       6
           Section 1512(b)(1) provides in full:

       (b) Whoever knowingly uses intimidation, threatens, or corruptly persuades another
       person, or attempts to do so, or engages in misleading conduct toward another
       person, with intent to—

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reaches “non-coercive attempts to tamper with witnesses,” United States v. Khatami, 280 F.3d

907, 912 (9th Cir. 2002), including attempts “to persuade a witness to give false testimony,” United

States v. Cruzado-Laureano, 404 F.3d 470, 487 (1st Cir. 2005). See also United States v.

Baldridge, 559 F.3d 1126, 1142 (10th Cir.) (“All circuits that have considered the issue have” held

“that a non-coercive attempt to persuade a witness to lie to investigators constitutes a violation of

§ 1512(b).”), cert. denied, 556 U.S. 1226 (2009).

       That straightforward construction of the statute—that Section 1512(b)(1) reaches non-

coercive witness tampering—is borne out by the D.C. Circuit’s decisions applying the statute. In

United States v. Morrison, 98 F.3d 619 (D.C. Cir. 1996), for example, the court affirmed the

conviction of a defendant who had tried to corrupt a witness “by exhorting her to violate her legal

duty to testify truthfully in court,” an effort that the witness understood as a request that she

“‘perjure’ herself.” Id. at 630. More recently, the defendant in United States v. Gurr, 471 F.3d

144 (D.C. Cir. 2006), was charged with conspiracy and other offenses arising from his role in

financial malfeasance at a credit union. After his arrest, the defendant and another credit-union

employee attempted to persuade a witness to sign an affidavit falsely stating that the witness had

authorized money to be transferred from her account. Id. at 154. The D.C. Circuit upheld Gurr’s

conviction under Section 1512(b)(1), rejecting his argument that the evidence was insufficient

“because there was no evidence of cooperation between Gurr and the other credit union employee

and no evidence that the witness was intimidated or threatened.” Id. The court explained that Gurr




       (1) influence, delay, or prevent the testimony of any person in an official
       proceeding;

       ***

       shall be fined under this title or imprisoned not more than 20 years, or both.
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“was not charged with intimidating or threatening [the witness], and the jury could reasonably find

that Gurr, with the assistance of [the other employee], attempted to ‘corruptly persuade [ ]’ [the

witness] in order to influence her testimony by having her sign a false affidavit.” Id.

        In support of its conclusion, the court in Gurr cited with approval several out-of-circuit

decisions involving non-coercive efforts to influence witness testimony that are similar to

Manafort’s conduct here. For example, United States v. LaShay, 417 F.3d 715 (7th Cir. 2005),

involved a gas station employee’s efforts to convince a co-worker to lie for him about a $2,000

check that the defendant had received from the gas station’s owner. The court in LaShay followed

decisions of the Second Circuit holding that “corrupt” persuasion occurs (1) “where a defendant

tells a potential witness a false story as if the story were true, intending that the witness believe the

story and testify to it,” and (2) where a “defendant trie[s] to persuade a witness to give a false

account that tracked the defendant’s position.” Id. at 718 (quoting, respectively, United States v.

Gabriel, 125 F.3d 89, 102 (2d Cir. 1997), and LaFontaine, supra, 210 F.3d at 132). Applying

those principles to the facts before it, the Seventh Circuit affirmed the employee’s Section 1512

conviction, concluding that “[a] jury could properly view LaShay’s remarks [to his co-worker] as

an unstated invitation to lie.” Id. at 719.

        In LaFontaine, one of the Second Circuit decisions discussed in LaShay, the district court

revoked the bail of a defendant who had tampered with a witness after her indictment. See 210

F.3d at 128-33. The defendant there participated in a fraudulent-billing scheme in which her health

clinic performed cosmetic surgeries for patients but billed them out as necessary procedures to

obtain insurance payments. After her arrest in the scheme, the defendant was recorded on a jail

call “reminding” a relative and former employee (Reyes) that Reyes’ mother had undergone the

procedures listed on the clinics’ false bills. When she was released from custody, the defendant



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then met with Reyes several times, including one occasion on which the defendant played for

Reyes a recording of the jail call “reminder” about her mother’s surgeries. The Second Circuit

upheld the decision revoking the defendant’s bail, concluding that her “attempt to review the

‘facts’ that would likely become part of Reyes[’s] trial testimony . . . satisf[ies] the requirements

of the witness tampering statute and, consequently, of the bail revocation statute.” Id. at 133. In

so concluding, the court rejected the defendant’s argument that the jail call did “not show any

threats or intimidation of Reyes,” explaining that Section 1512(b)(1) “plainly does not require

‘physical force’ or ‘threats’ to support a tampering charge; corrupt influence is sufficient.” Id.

       Finally, the First Circuit’s decision in Cruzado, supra, involved a corrupt mayor who

extorted money and kickbacks from local businesses and, after learning of the investigation,

pressured various individuals to conform their stories to his. The First Circuit characterized

Cruzado’s challenge to the sufficiency of the evidence as “simple: all he did was urge witnesses

to tell the truth, which is not a crime.” 404 F.3d at 487. But the court rejected that challenge.

While “Cruzado did ask that [witnesses] tell the truth,” the court explained, “his version of ‘the

truth’ that he urged upon them was anything but the truth.” Id. The jury could therefore find that

Cruzado was trying to persuade witnesses to testify to something other than their true beliefs,

which was sufficient to support his Section 1512(b)(1) convictions. Id.

       2. Under these decisions, the evidence recited above and in Special Agent Domin’s

Declaration establishes probable cause to believe that Manafort violated Section 1512(b)(1) by

attempting to persuade Persons D1 and D2—both directly and through an intermediary—to

support a materially false narrative in connection with the charges in the Superseding Indictment.

       The string of communications with Persons D1 and D2 establishes a violation of

Section 1512(b)(1) under the probable-cause standard. Manafort sent Person D1 a news article



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that reported on allegations in the recent Superseding Indictment that members of the Hapsburg

group performed lobbying and public-relations work in the United States, not just in Europe, which

is a key difference for purposes of liability under FARA. See 22 U.S.C. § 611(c)(1) (defining

“agent of a foreign principal” as a person who, as relevant here, engages in various acts “within

the United States”). Manafort then messaged Person D1 that he had “made clear that” the

Hapsburg group “worked in Europe,” a message that Person D1 reasonably understood to embody

one form of corrupt persuasion criminalized by Section 1512(b)(1)—viz., an attempt “to persuade

a witness to give a false account that track[s] the defendant’s position.” LaShay, 417 F.3d at 718.

Indeed, Person D1’s understanding of the message as an effort to “suborn perjury” is itself a strong

indication that Manafort acted both “corruptly” and with the intent to “influence” a third party’s

testimony, as required by Section 1512(b)(1). See, e.g., Morrison, 98 F.3d at 629–30 (affirming

Section 1512 conviction where witness understood defendant’s request to provide false testimony

as asking her “to ‘perjure’ herself”).

       Person A’s outreach to Person D2 on behalf of Manafort is equally probative of a Section

1512(b)(1) violation. As described in Special Agent Domin’s Declaration, Person D2 perceived

Person A’s series of messages as an effort by Manafort to influence the accounts of potential

witnesses in his case about the nature of the work performed behalf of Ukraine. At the very least,

Person A’s statements and Person D2’s description of them establish “a practical probability that

the evidence supports a finding that the defendant has committed a crime while on bail.”

LaFontaine, 210 F.3d at 133.

       As an initial matter, the content and context of Person A’s messages indicate that Person A

was reaching out to Person D2 at Manafort’s request. That much is evident from Person A’s initial

message to Person D2 that Manafort was “trying to reach [Person D1] to brief him on what’s going



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on.” It would strain credulity to suggest that Person A—a close confidant of Manafort for years—

undertook that outreach without Manafort’s knowledge and approval, especially given the timing

of the messages (they followed closely on the heels of Manafort’s own outreach to Person D1,

after a lengthy hiatus with no communications with Persons D1 or D2), their content (they sought

to arrange a communication with Manafort), and the person with an overriding legal interest in the

communication (Manafort). The inference that Person A acted on Manafort’s behalf is all the

more reasonable in light of evidence already before this Court demonstrating that Manafort and

Person A coordinated in connection with an op-ed that appeared in the Kyiv Post during Manafort’s

home confinement. See Decl. of Special Agent Brock W. Domin, Doc. 123, Exs. A & B (Dec. 8,

2017).

         Furthermore, the story that Person A conveyed to Person D2 was, like the message

Manafort conveyed to Person D1, false. Person A wrote: “Basically P wants to give him a quick

summary that he says to everybody (which is true) that our friends never lobbied in the US, and

the purpose of the program was EU.” Domin Decl. ¶ 17. As explained above, that description of

the geographic reach of the Hapsburg group’s activities is both false and central to the applicability

of FARA to Manafort’s “Hapsburg group” scheme. Person A’s message is thus a “false story”

conveyed “as if the story were true,” LaShay, 417 F.3d at 718, and an attempt “to persuade a

witness to give a false account that tracked the defendant’s position,” id. See also Cruzado, 404

F.3d at 487 (affirming Section 1512(b) conviction where, although the defendant asked witnesses

to “tell the truth,” the “version of ‘the truth’ that he urged upon them was anything but the truth”).

Person A’s message consequently amounts to an attempt to corruptly persuade a witness

proscribed by Section 1512(b)(1).




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       It is no defense that Manafort conveyed messages to Person D2 through an intermediary.

Section 1512(b)(1)’s language is sufficiently expansive to reach acts designed “to influence

testimony at a proceeding by corruptly persuading [one] person through another.” United States

v. Norris, 753 F. Supp. 2d 492, 505 (E.D. Pa. 2010) (emphasis added); see also United States v.

Amato, 86 F. App’x 447, 450 (2d Cir. 2004) (unpublished) (upholding Section 1512 conviction

where the defendant believed a third party was cooperating against him, the defendant was

concerned the third party would testify against him at trial, and the “defendant directed

intermediaries” to reach out to the third party and deliver a message). And even if Section 1512

alone did not reach corrupt persuasion accomplished through intermediaries, 18 U.S.C. § 2 makes

it a crime both to cause an unwitting third party to corruptly persuade a potential witness and to

aid and abet a complicit party in committing corrupt persuasion.

       In sum, the government’s evidence establishes probable cause that Manafort violated the

witness-tampering statute both through his direct outreach to Person D1 and his intermediary’s

outreaches to Persons D1 and D2. As a result, Manafort violated the condition of release requiring

that he not commit any federal, state, or local crime. See LaFontaine, 210 F.3d at 133.

       3. A finding of probable cause to believe that Manafort violated his conditions of release

by committing the federal crime of witness tampering triggers the statutory presumption that no

condition or combination of conditions can assure that Manafort “will not pose a danger to the

safety of any other person or the community.” 18 U.S.C. § 3148(b); see United States v. Cook,

880 F.2d 1158, 1162 (10th Cir. 1989) (explaining that “[o]nce the presumption arises, the ball is

in the defendant’s court, and it is incumbent on the defendant to come forward with some evidence

to rebut the presumption.”) (internal citation omitted). And with respect to “danger to . . . the

community,” courts have recognized that a defendant’s “attempts to influence the testimony of”



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potential witnesses “constitute the type of danger to the community that [can] support detention.”

LaFontaine, 210 F.3d at 135; see, e.g., United States v. Gilley, 771 F. Supp. 2d 1301, 1308 (M.D.

Ala. 2011) (explaining that a probable-cause finding that a defendant engaged in witness tampering

goes to “the very integrity of [the court’s] own processes and the fair administration of justice,”

and implicates “not only the singular concern of keeping a defendant from engaging in illegal

conduct, but also the public concern of encouraging all witnesses and all potential witnesses to

come forward and provide information helpful to the implementation of justice”) (internal brackets

and quotation marks omitted).

        The Second Circuit’s decision in LaFontaine, supra, is instructive. The fraud defendant

there argued that she posed no danger to the community because, unlike in other witness-tampering

cases, she was “a white-collar criminal with no connection to the mob . . . or to narcotics,” and the

evidence showed at most that she “persistently ‘fed’ [a witness] false testimony with the

expectation that [the witness] would adopt it.” 210 F.3d at 134. The Second Circuit rejected that

argument. It explained that “obstruction of justice ha[d] been a traditional ground for pretrial

detention by the courts, even” before the Bail Reform Act of 1984 made “dangerousness” a basis

for detention. Id.; see id. (stating that “pretrial trial detention [i]s even more justified in cases of

violations related to the trial process (such as witness tampering) than in cases where the

defendant’s past criminality was said to support a finding of general dangerousness”). And

although the court acknowledged that “witness tampering that is accomplished by means of

violence may seem more egregious,” it concluded that “the harm to the integrity of the trial is the

same no matter which form the tampering takes.” Id. at 135. The court therefore affirmed the

district court’s conclusion that the defendant “posed a danger to the community,” id. at 134, and

that revocation was warranted under Section 3148(b), id. at 135.



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       Revocation of the terms of the current Order is appropriate here for many of the same

reasons. Manafort’s efforts to influence the testimony of potential witnesses, both directly and

through an intermediary, threaten “the integrity of the trial” even though those efforts have not

been violent in nature and the underlying prosecution involves “white-collar” offenses rather than

“narcotics” or violent crimes. See LaFontaine, 210 F.3d at 134. At the same time, Manafort’s

obstructive conduct—carried out at a time when he was seeking relief from his current conditions

of release—instills little confidence that restrictions short of detention will assure Manafort’s

compliance with the Court’s orders and prevent him from committing further crimes. To the

contrary, that conduct is strong evidence that Manafort is conscious of his guilt of the FARA

allegations added in the Superseding Indictment and that he has a greater incentive to flee than this

Court (and another) already found him to possess in connection with the earlier indictments.

See 11/6/2017 Tr. 24-25 (citing Manafort’s “risk of flight” as one factor weighing against release

on personal recognizance); Doc. 25 at 2, United States v. Manafort, No. 1:18-cr-63 (E.D. Va.

March 9, 2018) (finding that Manafort “poses a substantial risk of flight”).

                                         CONCLUSION

       For the foregoing reasons, the government moves the Court to conduct a hearing pursuant

to 18 U.S.C. § 3148(b) and to revoke or revise its current Order authorizing Manafort’s release to

the Pretrial Services Agency’s high-intensity supervision program.




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                                          Respectfully submitted,

                                          ROBERT S. MUELLER, III
                                          Special Counsel

Dated: June 4, 2018           By:         /s/ Andrew Weissmann
                                          Andrew Weissmann
                                          Greg D. Andres (D.D.C. Bar No. 459221)
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

                v.
                                                   Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                    Defendant.


                                             ORDER

        This matter having come before the Court pursuant to the government’s motion to revoke

or revise the Court’s Order releasing defendant Paul J. Manafort, Jr., to the Pretrial Services

Agency’s high-intensity supervision program, it is hereby

        ORDERED that a hearing on the government’s motion shall be held on [DATE] at [TIME];

and it is further

        ORDERED that the parties shall be prepared to address at the hearing whether probable

cause exists to believe that Manafort has violated a condition of his release by committing a federal

crime and, if so, whether the Court’s release order should be revoked or revised.


________________                              __________________________________
Date                                          HON. AMY BERMAN JACKSON
                                              UNITED STATES DISTRICT JUDGE
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                Defendant.




           DECLARATION IN SUPPORT OF THE GOVERNMENT’S
    MOTION TO REVOKE OR REVISE DEFENDANT PAUL J. MANAFORT, JR.’S
                CURRENT ORDER OF PRETRIAL RELEASE


       I, Brock W. Domin, hereby state as follows:

      A. Affiant

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) working

directly with the Special Counsel’s Office. I have been a Special Agent with the FBI since 2015. I

have training and experience related to national security investigations, as well as federal financial

crimes. Prior to my employment with the FBI, I spent seven years in the software industry and

have extensive experience working with computer technology.

       2.      I make this declaration in support of the government’s motion to revoke or revise

the release order of defendant Paul J. Manafort, Jr., pursuant to 18 U.S.C. § 3148. This declaration

is based upon my personal knowledge, my review of documents and other evidence, my

conversations with other law enforcement personnel, and my training and experience. Where the

contents of documents or the statements and conversations of others are reported herein, they are

reported in substance and in pertinent part, except where otherwise indicated.
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      B. The “Hapsburg” Group

       3.      As part of its ongoing investigation, the government identified a public-relations

firm—called, along with its successor, “Company D” in what follows—and two principals at that

firm (Persons “D1” and “D2”) who communicated with Manafort, Gates, and Person A regarding

the lobbying scheme described in the Superseding Indictment. Persons D1 and D2’s work with

Manafort, Gates, and Person A encompassed lobbying work on behalf of the Ukrainian

government, which included the lobbying work by the Hapsburg group members. Persons D1 and

D2 also communicated with individual(s) at Law Firm A, Company A, and Company B, and

Ukrainian government personnel, among others, regarding Manafort’s scheme to lobby on behalf

of Ukraine in the United States.

       4.      As referenced in the Superseding Indictment, in late 2011, Manafort, with Person

D1, developed what became the “Hapsburg group.” Manafort proposed the project to the

Ukrainian government in the “Eyes Only” memorandum excerpted in the Superseding Indictment.

See, e.g., Superseding Indictment of February 23, 2018 (Doc. 202), ¶ 31.

       5.      Person D1 told the government that Manafort wanted the Hapsburg group to remain

“under the radar,” and that the Hapsburg group would speak as ostensible third-party endorsers on

behalf of Ukraine, but the fact that they were paid millions of euros would be kept secret. Manafort

and Person D1 selected individuals who could be discreet.

       6.      In or about June 2011, Manafort arranged a conference call with Person D1 to

discuss the goals and deliverables of Company D’s work. Manafort then sent Person D1 a

memorandum describing a “framework” for Company D’s work: the “goal of the program . . . is

to educate the western media, expand the media awareness of what is really happening and

establish mechanisms to maintain a constant flow of information into Europe and the US,”



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including “Washington.” Manafort’s agenda for the conference call proposed a contract that

would “cover the EU and the US.”        And, indeed, a contract sent by Person A to Person D1

regarding Company D’s work described a “campaign . . . aimed at media, decision-makers, think[]

tanks and business and political leaders in Europe and the United States.” The contract included,

as “agreed deliverables,” work on “Print/electronic media coverage in Europe and US.” A copy

of Manafort’s e-mail regarding the June 2011 conference call is attached hereto as Exhibit A, and

a copy of the contract is attached hereto as Exhibit B.

       7.      In or about June 2012, Person D1 wrote a memorandum to Manafort describing a

group of “Third-Party Champions on Ukraine,” which Person D1 described as a “small chorus of

high-level European third-party endorsers and politically credible friends who can act informally

and without a formal government relationship . . . .” In this memorandum, Person D1 described a

phone call with a former senior politician who would eventually become the head of the Hapsburg

group, during which the former politician embraced the “idea of what he called ‘underground

commenting.’” Person D1’s memorandum to Manafort is attached hereto as Exhibit C.

       8.      As alleged, the government has developed substantial evidence showing that the

Hapsburg group performed a variety of lobbying tasks in the United States. That work included,

among other things, the dissemination of ghostwritten articles in the American press and the

arrangement of meetings with politicians in the legislative branch and members of the Executive

Branch (in coordination with Companies A and B).

       9.      As one example of the Hapsburg group’s lobbying directed towards the United

States, in September 2012, members of the Senate Foreign Relations Committee were considering

a resolution condemning as “politically motivated” the prosecution of Yulia Tymoshenko.

Manafort and Gates, with the assistance of Persons D1 and D2, arranged for members of the



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Hapsburg group to lobby United States senators on behalf of Ukraine. Manafort emphasized that

one of the senators should be made aware that one member of the Hapsburg group was a

“representative of the President of the [European Parliament],” but did not disclose that that

member was a paid lobbyist for Ukraine. A copy of the correspondence memorializing the

Ministry of Foreign Affairs’s instructions, Manafort’s guidance, and outreach to senators is

attached hereto as Exhibit D.

       10.     As another example, in early 2013, Manafort, Gates, and Persons D1 and D2

arranged for members of the Hapsburg group to meet with politicians and others in Washington,

D.C. In connection with one member’s visit to Washington, D.C., Gates and others arranged for

the member of the Hapsburg group to submit an op-ed to The Hill. See Ex. E. Persons D1 and D2

drafted the op-ed, and redrafted it after receiving Manafort’s direction that it not appear “too

partisan” for the Hapsburg group member. Once satisfied with the piece, Manafort noted that it

was “[a]lmost a waste not to use this on the FT, NYT, WSJ, WP, caliber newspapers.” See Ex. F.

The article was placed in The Hill, a newspaper and website published in Washington, D.C., on

March 4, 2013.

       11.     In connection with another member of the Hapsburg group’s trip to Washington in

early 2013, Gates and Manafort communicated with Persons D1 and D2 regarding the trip. Gates

sent Manafort an agenda memorializing the member’s scheduled meetings with senators,

congressmen, and members of their staffs. That agenda is attached hereto as Exhibit G. As

explained by an employee of Company B to an embassy employee making border entry

arrangements, the Hapsburg group member would “be traveling to Washington, DC next week”

and would “be meeting with US Government officials and Members of Congress.” See Ex. H.

Person D2 told the government that he attended the meetings in Washington, D.C. with the member



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of the Hapsburg group and members of Congress, among others. Person D2 further stated that

after the meetings with United States government officials, the member of the Hapsburg group,

Person D2, and Manafort met at the Willard Hotel for drinks. After the member of the Hapsburg

group left, Person D2 and Manafort remained at the hotel and discussed how the meetings had

gone. Manafort reported that he had received positive feedback regarding the meetings from a

“backchannel” source, and, in Person D2’s view, Manafort was happy with the results.

         12.    As a final example, when an editorial regarding Ukraine appeared in The New York

Times in January 2014, Gates forwarded the article to Persons D1 and D2 with instructions that a

member of the Hapsburg group should write a “response.” See Ex. I. Persons D1 and D2 drafted

an op-ed on behalf of one of the members of the Hapsburg group, see Ex. J, Gates offered

comments, see Ex. K, and the op-ed ran in The New York Times in or around February 2014, see

Ex. L.

         C. Efforts to Contact Persons D1 and D2

         13.    Documents produced by Persons D1 and D2, statements made by Persons D1 and

D2 to the government, telephone records obtained by the government, and documents recovered

pursuant to a court-authorized search of Manafort’s iCloud account evidence that Manafort, while

on bail from this Court, and with the assistance of Person A, contacted and attempted to contact

Persons D1 and D2 in an effort to influence their testimony and to otherwise conceal evidence.

The investigation into this matter is ongoing. 1

         14.    On February 24, 2018—the day after Gates pleaded guilty—Manafort sent Person

D1 the message “This is paul.” Manafort’s toll records for his cell phone indicate that he called a

number associated with Person D1 the same day, and that the two had a call lasting 1 minute and



1
    Persons D1 and D2 provided the content of the text messages described below in May 2018.
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24 seconds. On February 25 and 27, 2018, Manafort attempted to call another phone number

associated with Person D1, but did not connect. Person D1 told the government that in or around

this period, Manafort called Person D1, and that the two had not spoken since July of the previous

year. Person D1 stated that after answering the call and after the caller identified himself as

Manafort, Manafort stated that he wanted to give Person D1 a heads-up about Hapsburg. Person

D1 immediately ended the call because he was concerned about the outreach.

       15.      On February 26, 2018, Manafort sent Person D1 a series of messages using an

encrypted application on his phone. The messages read as follows:

       -     23:56:http://www.businessinsider.com/former-european-leaders-manafort-hapsburg-
             group-2018-2?r=UK&IR=T
       -     23:57: We should talk. I have made clear that they worked in Europe.

The government confirmed that these messages were sent by Manafort, upon review of Manafort’s

iCloud account pursuant to a court-authorized search. Information contained in Manafort’s iCloud

account further indicates that Manafort attempted to call Person D1 from the same encrypted

application on February 27, 2018.

       16.      The web address included in Manafort’s “23:56” message contains an article

describing the Superseding Indictment and its inclusion of allegations concerning the Hapsburg

group and its work in the United States. See Michael Kranz, Former European leaders struggle

to explain themselves after Mueller claims Paul Manafort paid them to lobby for Ukraine, Business

Insider (Feb. 25, 2018), available at http://www.businessinsider.com/former-european-leaders-

manafort-hapsburg-group-2018-2?r=UK&IR=T (attached hereto as Exhibit M) (“According to

Mueller’s indictment, two European politicians were secretly paid around €2 million by Manafort

in order to ‘take positions favorable to Ukraine, including by lobbying in the United States.’”).

       17.      On February 28, 2018, Person A separately contacted Person D2 via an encrypted

messaging application. Person D2 worked for years with Person D1, and was known to Manafort
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and Person A as a key associate of Person D1. Person D2 told the government that he worked on

press strategy for the Hapsburg group, and did work on behalf of Ukraine in the United States and

Europe. Person A’s texts to Person D2 read as follows:

       -     01:49: [Person D2], hi! How are you? Hope you are doing fine. ;))
       -     01:51: My friend P is trying to reach [Person D1] to brief him on what's going on.
       -     01:51: If you have a chance to mention this to [Person D1] - would be great.
       -     01:53: Basically P wants to give him a quick summary that he says to everybody (which
             is true) that our friends never lobbied in the US, and the purpose of the program was
             EU

Approximately four hours later, Person A switched to another encrypted application and sent a

similar series of messages to Person D2.

       18.      Approximately one month later, Person A reached out to Person D1 directly as well.

On April 4, 2018, Person A sent a message to Person D1: “Hi. This is [Person A’s first initial]. My

friend P is looking for ways to connect to you to pass you several messages. Can we arrange that.”

Person A reached out to Person D2 the same day, and reiterated his need for help in connecting

Person D1 with Manafort. Person A added in his text to Person D2: “I tried him [i.e., Person D1]

on all numbers.” A timeline summarizing the above-described communications is attached hereto

as Exhibit N.

       19.      Person D1 told the government that Person D1 understood Manafort’s messages to

be an effort to “suborn perjury” by influencing Person D1’s potential statements. Person D1 well

knew and believed from frequent interactions with its members that the Hapsburg group in fact

lobbied in the United States, and that Manafort and Person A knew that fact.

       20.      Person D2 told the government that Person D1 had also told him that Manafort had

called Person D1 to discuss the new indictment, but that Person D1 abruptly ended the call. Person

D2 further stated that he received the messages from Person A “out of the blue,” but did not open

them at the time for fear of alerting Person A that he had read them. (Person D2 could, however,

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Subject: Re: an urgent request ON IT
From: Person D1
Date: 9/19/12, 9:29 AM
To: Rick Gates <rgates@
CC: Paul Manafort <pmanafort@                          Person D2

And Hapsburg Member ALSO happy to speak to Senator                   and ask hm to delay or
tone down or stop the resolution

Sent from my iPad

On Sep 19, 2012, at 15:25, Rick Gates <rgates@                      wrote:


  On it. Thank you.

  From: Person D1
  To: Paul Manafort <pmanafort@
  Cc: Rick Gates <rgates@                     Person D2
  Subject: Re: an urgent request ON IT

  Am with          now, who is speaking to Hapsburg Member who is getting ready for the
             Hapsburg Membe



  wedding of his only daughter...BUT....he will talk to Senator yes. He is delighted to speak to
  Senator and try to calm things down and ask them to wait and tust him..Need rick to call
  me in three minutes so we can set this up, make it happen....

  Hapsburg Member             says yes here is his personal and private mobile and Senator shd
  call him

  +

  The Senator can dial him directly or             can put him on

  He will keep he phone open until midnight CET or six pm DC time

  He is very keen to delay and calm things down


  READY....

  Sent from my iPad

  On Sep 19, 2012, at 15:12, Paul Manafort <pmanafort@                       wrote:


      Keep me posted on       call to Senator status

      From: Rick Gates <rgates@
      Date: Wed, 19 Sep 2012 08:07:57 -0500
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  not prior to them.

  Paul works through his channels and is sending the same messages. He also supports the above
  initiative. The issue is under Big Guy's personal control.

  As you understand, the matter is very urgent and we understand the time pressure but it would be
  fantastic if such a call could take place.

  Best regards,

  Dmytro




<senate.doc>

<res part 1.pdf>

<res part 2.pdf>
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           EXHIBIT (
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Subject: Re: DC Updates
From: Person D2
Date: 3/1/13, 6:31 AM
To: Rick Gates <rgates@                  Person D1
CC: Paul Manafort <pmanafort@

Working on it now.


From: Rick Gates <rgates@
Date: Friday, 1 March 2013 05:01
To: Person D1                              Person D2
Cc: Paul Manafort <pmanafort@
Subject: DC Updates

Persons D1/D2 -
A few notes from my meeting with the principal this afternoon.
1. We have been oﬀered the op/ed slot for the Hill on Monday. I spoke with and he is interested.
Can one or both of you take a run at a first draft. I need this by 300pm DC time to get to   He
will review it.
2. He liked the idea of an apology letter to the members for the meetings he missed. I will draft
that for his review.
3. Attached is the final agenda for his meetings tomorrow.

Let me know when you are free to discuss the op/ed draft.
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           EXHIBIT )
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Subject: Re: Draft Op Ed for Hill VERSION 2
From: Person D1
Date: 3/1/13, 10:35 AM
To: Paul Manafort <pmanafort@
CC: Rick Gates <rgates@                 Person D2
Person A            @dmpint.com>

Thanks

Sent from my iPad

On Mar 1, 2013, at 15:05, Paul Manafort <pmanafort@                            wrote:


  This is precisely what we need. Almost a waste not to use this on the FT, NYT, WSJ, WP,
  caliber newspapers….
  P

  From: Person D1

  Date: Friday, March 1, 2013 8:30 AM
  To: Paul manafort <pmanafort@                          Rick Gates <rgates@                  D2
                                     , Person A
  Subject: Draft Op Ed for Hill VERSION 2

  Here we go. Hope this does the trick a bit better.

  From: Paul Manafort <pmanafort@
  To: Person D1                    Rick Gates <rgates@      Person D2                         Person A
            @dmpint.com>
  Sent: Friday, 1 March 2013, 13:14
  Subject: Re: Draft Op Ed for Hill

  Person D1



  I don’t like the tone of this op ed.
  The message is the right message but at this time it is too partisan for     It will damage his
  "non-partisan" image.
  The problem with the op ed is that it contains all of our core messages. It could be given by VY of the
  Foreign MInister.
  This op ed should be more focused and narrow.
  I recommend that you re-write it from the standpoint of Europe with the theme of Ukraine's
  importance to Europe as a part of the security umbrella provided by NATO. The messages can include
  energy security as well as continental defense.
  The piece should be more macro focusing on the big themes and the importance of Ukraine in those
  themes.
  P

  From: Person D1
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Reply-To:
Date: Friday, March 1, 2013 7:03 AM
To: Rick Gates <rgates@                 Paul manafort <pmanafort@
Person D2                        , Person A
Subject: Draft Op Ed for Hill

Dear Rick

Here is the draft op ed for    you requested. Please make sure he reads the final
version and approves before it is sent. So far I have not contacted him, because you
asked for a draft op ed by 3 pm.

Best
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           EXHIBIT *
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Subject:    Visit to US
From: Rick Gates <rgates@d
Date: 3/8/13, 11:32 PM
To: Paul Manafort <pmanafort@
CC: Person D2                                  >, Person D1

P-
This email contains the following documents in regards to the     's visit to the US.

1. Current agenda (as of 1100pm 3/8) – there are still some meetings to confirm but this will
provide an overview on the meetings thus far. In addition, there is a point of contact for each of
the meetings (either Company B       or Company A        )
2. Logistics Sheet – this document is just for our internal use. It has all of the logistical
information and POCs for the trip.
3.    Draft Carnegie Speech Points – need to be reviewed and modified

There are 3 additional items which will be coming over the weekend.
4. Congressional TPs
5. Briefing books for meetings
6. Draft Oped


 Attachments:


     Agenda - as of 1100pm 3.8.13.docx                                                    16.5 KB
     Visit POCs.docx                                                                      61.8 KB
     Carnegie Speech [1].doc                                                              40.0 KB
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Subject: Re: R: Expedited Port Courtesis for Hapsburg member
From: Person D2
Date: 3/13/13, 11:25 AM
To:
CC: Company B                                   Company B



Hi

I just had a meeting with Comp. B and the team and that's what we will do. At every point there will
be the relevant contact person to meet President          and facilitate access.
                                                   Haps. member




However, like everyone else, he will have to go through security/metal detectors etc.

We can discuss further details when I see you at 12:30pm.

Best, D2


From:
Date: Wednesday, 13 March 2013 14:26
To: Person D2
Cc: Company B                                  , Company B
Subject: RE: R: Expedited Port Courtesis for Hapsburg member

Hy D2

It was a pleasure to talk to you.

Just a very last detail…we suggest you to agree with the counterparts of each meeting which
will be the access point/address on the occasion of each meeting, in order to avoid any
problem/delay to President
Ideally, for each meeting you should be in contact with someone of the organizers who should
possibly wait for President       ’s car at an agreed access point/address at a certain time.
Our drivers know Washington very well and will be able to bring you anywhere, but the access
to some institutional locations (like the Congress) could be tricky if no agreement has been
taken in advance with someone coming and waiting from inside and it is not clear what is
going to be the access point.
This is obviously just and advice from our side.

All the Best and see you in a couple of hours,




From: Person D2
Sent: Wednesday, March 13, 2013 9:34 AM
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To: Company B
Cc: Company B
Subject: Re: R: Expedited Port Courtesis for Hapsburg member

Thanks for the introduction, Comp. B

I just spoke to               All in good hands.

See you shortly.

Best, D2


From: Company B
Date: Wednesday, 13 March 2013 13:00
To:
Cc: Person D2                                 Company B
Subject: FW: R: Expedited Port Courtesis for Hapsburg member


Hi

Per the emails below, we are coordinating Prime Minister    ’s visit to Washington. I am
copying Person D2    who works for the Prime Minister. D2    will be with the Prime Minister
throughout his stay. He needs to accompany you to the airport today to meet the Prime
Minister so I am connecting you.

D2       ’s cell number is                     .

Please let me know if I can be oﬀ assistance on this matter.

Thank you so much.

Comp B




From: Company B
Sent: Tuesday, March 12, 2013 6:02 PM
To:
Cc:                                                            Company B
Subject: Re: R: Expedited Port Courtesis for Hapsburg member

Grazie mille
I am learning diplomacy
Are you or anyone coming to his talk?
Comp B



Company B
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         Case 1:17-cr-00201-ABJ Document 315-10 Filed 06/04/18 Page 5 of 9


Hope to see you again tomorrow evening at Villa Firenze.

Best,
Comp B


Wednesday, March 13th

1455                  Arrival to Washington, DC
                   Transfer to Hotel (if time permits)
                   VIP Transfer –          Embassy (will provide transportation during visit)

                   HOTEL:




1700 – 1730        Senate Foreign Relations Committee
                   Staff Briefing (Minority – Republicans)
                   Location: Dirksen Senate Office Building - Room: TBD
                   POC: Company A

1730 – 1800        Senate Foreign Relations Committee
                   Staff Briefing (Majority – Democrats)
                   Staff Director
                   Location: Dirksen Senate Office Building – Room TBD
                   POC: Company B

1815               Meeting with Paul and D2
                   Willard Intercontinental Hotel

1900               Dinner with          Ambassador
                   Location: Villa Frienze


Thursday, March 14th

900 – 930
                   Senior Policy Advisor, House Representative
                   Location: U.S. Capitol – Room:
                   POC: Company A

1000 – 1045        Congressman            (R    )
                   Chairman, House
                   Location:      Rayburn House Office Building
                   POC: Company A
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1215 – 1245           Congressman                    (D    )
                      Ranking Member,

                      Location:  Cannon House Office Building
                      POC: Company B

1330 – 1430           Bloomberg Interview
                     1399 New York Ave NW
                      Washington, DC 20005
                     POC: Company B

1500 – 1530           Congressman                    (R-   )
                      Member, House Foreign

                      Location:    Cannon House Office Building
                      POC: Company B

1545 – 1600           Carnegie Endowment for International Peace
                      Meeting with CEIP Board and Leadership
                      Location:     Carnegie Endowment for International Peace
                                    1779 Massachusetts Ave., NW
                                    Washington, DC 20036
                                    (202) 483-7600
                      POC:

1600 – 1730           Carnegie Endowment for International Peace
                      Speech – Hapsburg member


                      Brief Q&A following Speech

1730 – 1815           Carnegie Reception in Honor of Hapsburg member

1815                  Depart for Dulles Airport
                            Embassy to Provide Transportation

2020                  Depart to          via Paris

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Company B




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From:
Sent: Thursday, March 07, 2013 4:04 PM
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          Case 1:17-cr-00201-ABJ Document 315-10 Filed 06/04/18 Page 8 of 9




Da: Company B
Inviato: giovedì 7 marzo 2013 9.47
A:
Oggetto: RE: Expedited Port Courtesis for Hapsburg member

His NY oﬃce is not coordinating the visit. He is doing it through his foundation.
               is the point of contact.
E-mail:
Mobile:

From:
Sent: Wednesday, March 06, 2013 2:33 PM
To: Company B
Subject: R: Expedited Port Courtesis for Hapsburg member


Dear Comp B
                                                                                 Hapsburg member
with all great pleasure we shall provide all the necessary airport assistance to
     . I only kindly ask you to provide me with the contacts of the person who got in
touch with you in order to get all the necessary details (and to avoid possible
duplications with his staff in New York).

Best,

_______________________________




-----Messaggio originale-----
Da: Company B
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Inviato: mercoledì 6 marzo 2013 11.30
A:
Oggetto: Expedited Port Courtesis for Hapsburg member

         -

Former Prime Minister Hapsburg member will be traveling to Washington, DC next week.
During his trip he will be meeting with US Government officials and Members of
Congress to discuss his work
         and to offer insights about EU-US relations and Russia.
Hapsburg member is scheduled to arrive Dulles at 2:55p on Wednesday, March 13 and will

depart on Thursday, March 14 at 8:20p.
Could the Embassy assist with his trip by requesting expedited port courtesis
through the e-gov system for Hapsburg member ?

Best,
Comp B



Sent from my iPad

  image001.jpg




  Attachments:


  image001.jpg                                                                   4.6 KB
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Person D2
Person D1




                        Person D2




            Person D1


      Person D2




  D1/D2
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RULJLQDOFKDUJHVZLWKDIUHVKVHWRIFKDUJHVUHODWHGWRWD[DQGEDQNIUDXG0XHOOHU
VLQGLFWPHQW
GRFXPHQWDOOHJHVWKDW*DWHVDQG0DQDIRUWVHWXSRIIVKRUHEDQNDFFRXQWVWKDWWKH\WKHQIDLOHGWR
GLVFORVHWRWKHSURSHUDXWKRULWLHVDQGODXQGHUHGRYHUPLOOLRQWKURXJKWKHVHDFFRXQWV)ULGD\
V
LQGLFWPHQWZDVSODFHGRQWRSRIWKHVHH[LVWLQJFKDUJHV

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ŚƚƚƉ͗ͬͬǁǁǁ͘ďƵƐŝŶĞƐƐŝŶƐŝĚĞƌ͘ĐŽŵͬĨŽƌŵĞƌͲĞƵƌŽƉĞĂŶͲůĞĂĚĞƌƐͲŵĂŶĂĨŽƌƚͲŚĂƉƐďƵƌŐͲŐƌŽƵƉͲϮϬϭϴͲϮ͍ƌсh<Θ/Zсd         ϯ
Case 1:17-cr-00201-ABJ Document 315-16 Filed 06/04/18 Page 1 of 3




           EXHIBIT 1
                               Case 1:17-cr-00201-ABJ Document 315-16 Filed 06/04/18 Page 2 of 3



'DWH7LPH        )URP              7R       0HWKRG       7\SH                                    &RQWHQW                                            6RXUFH


 
               3DXO0DQDIRUW     3HUVRQ'   7HOHSKRQH 3KRQH&DOO                    $WWHPSWHGSKRQHFDOO1RGXUDWLRQ                        0DQDIRUW7ROO5HFRUGV
87&

 
               3DXO0DQDIRUW     3HUVRQ'   7HOHSKRQH 3KRQH&DOO                           PLQVHFRQGFDOO                              0DQDIRUW7ROO5HFRUGV
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                                                                                                                                               3HUVRQ'3URGXFWLRQ
 
               3DXO0DQDIRUW     3HUVRQ'   :KDWV$SS     &KDW                                   7KLVLVSDXO                                     0DQDIRUWL&ORXG
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                                                                                                                                                    3URGXFWLRQ


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               3DXO0DQDIRUW     3HUVRQ'   7HOHSKRQH 3KRQH&DOO                    $WWHPSWHGSKRQHFDOO1RGXUDWLRQ                        0DQDIRUW7ROO5HFRUGV
87&


                                                                                                                                               3HUVRQ'3URGXFWLRQ
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               3DXO0DQDIRUW     3HUVRQ'   :KDWV$SS     &KDW                                                                                    0DQDIRUWL&ORXG
87&                                                                       KDSVEXUJJURXS"U 8.	,5 7
                                                                                                                                                    3URGXFWLRQ

                                                                                                                                               3HUVRQ'3URGXFWLRQ
 
               3DXO0DQDIRUW     3HUVRQ'   :KDWV$SS     &KDW          :HVKRXOGWDON,KDYHPDGHFOHDUWKDWWKH\ZRUNHGLQ(XURSH             0DQDIRUWL&ORXG
87&
                                                                                                                                                    3URGXFWLRQ


                                                                                                                                      0DQDIRUWL&ORXG
               3DXO0DQDIRUW     3HUVRQ'   :KDWV$SS 3KRQH&DOO                     $WWHPSWHGSKRQHFDOO1RGXUDWLRQ
87&                                                                                                                                        3URGXFWLRQ


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               3DXO0DQDIRUW     3HUVRQ'   7HOHSKRQH 3KRQH&DOO                    $WWHPSWHGSKRQHFDOO1RGXUDWLRQ                        0DQDIRUW7ROO5HFRUGV
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                 3HUVRQ$        3HUVRQ'   :KDWV$SS     &KDW           >3HUVRQ'@KL+RZDUH\RX"+RSH\RXDUHGRLQJILQH
&(67                                                                                                                                        3URGXFWLRQ


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VJRLQJ        3HUVRQ'
                 3HUVRQ$        3HUVRQ'   :KDWV$SS     &KDW
&(67                                                                                          RQ                                           3URGXFWLRQ


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                 3HUVRQ$        3HUVRQ'   :KDWV$SS     &KDW       ,I\RXKDYHDFKDQFHWRPHQWLRQWKLVWR>3HUVRQ'@ZRXOGEHJUHDW
&(67                                                                                                                                        3URGXFWLRQ
                                   Case 1:17-cr-00201-ABJ Document 315-16 Filed 06/04/18 Page 3 of 3



 'DWH7LPH            )URP                7R          0HWKRG       7\SH                                      &RQWHQW                                        6RXUFH


                                                                             %DVLFDOO\3ZDQWVWRJLYHKLPDTXLFNVXPPDU\WKDWKHVD\VWRHYHU\ERG\
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                     3HUVRQ$           3HUVRQ'     :KDWV$SS      &KDW     ZKLFKLVWUXHWKDWRXUIULHQGVQHYHUOREELHGLQWKH86DQGWKHSXUSRVH
 &(67                                                                                                                                                3URGXFWLRQ
                                                                                                       RIWKHSURJUDPZDV(8


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                     3HUVRQ$           3HUVRQ'     7HOHJUDP      &KDW                       +H\KRZDUH\RX"7KLVLV>3HUVRQ$@
 &(67                                                                                                                                                3URGXFWLRQ


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                     3HUVRQ$           3HUVRQ'     7HOHJUDP      &KDW                              +RSH\RXDUHGRLQJILQH
 &(67                                                                                                                                                 3URGXFWLRQ


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                     3HUVRQ$           3HUVRQ'     7HOHJUDP      &KDW        0\IULHQG3LVWU\LQJWRUHDFK>'@WREULHIKLPRQZKDW
VJRLQJRQ
 &(67                                                                                                                                                3URGXFWLRQ


                                                                             %DVLFDOO\3ZDQWVWRJLYHKLPDTXLFNVXPPDU\WKDWKHVD\VWRHYHU\ERG\
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                     3HUVRQ$           3HUVRQ'     7HOHJUDP      &KDW     ZKLFKLVWUXHWKDWRXUIULHQGVQHYHUOREELHGLQWKH86DQGWKHSXUSRVH
 &(67                                                                                                                                                3URGXFWLRQ
                                                                                                       RIWKHSURJUDPZDV(8


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                     3HUVRQ$           3HUVRQ'     7HOHJUDP      &KDW
 &(67                                                                ZRXOGEHJRRGWRJHWWKHPFRQQHFWHGWRGLVFXVVLQSHUVRQ3LVKLVIULHQG      3URGXFWLRQ


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VILUVWLQLWLDO@0\IULHQG3LVORRNLQJIRUZD\VWR   3HUVRQ'
                     3HUVRQ$           3HUVRQ'     :KDWV$SS      &KDW
 87&                                                                    FRQQHFWWR\RXWRSDVV\RXVHYHUDOPHVVDJHV&DQZHDUUDQJHWKDW            3URGXFWLRQ


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                     3HUVRQ$           3HUVRQ'     :KDWV$SS      &KDW
 &(67                                                                                    ZLWK>3HUVRQ'@&DQ\RXKHOS"                             3URGXFWLRQ


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                     3HUVRQ$           3HUVRQ'     7HOHJUDP      &KDW
 &(67                                                                                       KLPWKURXJK>3HUVRQ'@                                  3URGXFWLRQ


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                     3HUVRQ$           3HUVRQ'     7HOHJUDP      &KDW                              ,WULHGKLPRQDOOQXPEHUV
 &(67                                                                                                                                                3URGXFWLRQ

87&DQG&(67UHIHUWR&RRUGLQDWHG8QLYHUVDO7LPHDQG&HQWUDO(XURSHDQ6XPPHU7LPHUHVSHFWLYHO\
